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     Shari Rusk, Bar No. 170313
1
     Attorney at Law
2
     1710 Broadway, #111
     Sacramento, California 95818
3    Tel: (916) 804-8656
     Fax: (916) 443-1165
4    Email: Rusklaw@comcast.net
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6
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     United States of America,             ) Case No. CR.S. 06-0035 MCE
8              Plaintiff,                  )
          vs.                              ) DATE: October 16, 2008
9
                                           ) TIME: 9:00 a.m.
10
     Zachary Jenson,                       ) COURT: Hon. Morrison C. England,
               Defendant                   ) Jr.
11                                         )
                                           ) Stipulation and Order To
12                                         ) Continue Judgment & Sentencing
                                           )
13

14
           Zachary Jenson is currently scheduled to be sentenced on
15
     September 25, 2008.    The parties agree and stipulate that Mr.
16

17
     Jenson’s sentencing should be moved to October 16, 2008 if that

18   date is available with the Court.
19
           The parties request the following schedule:
20
                Informal Objections:          September 25, 2008
21
                Final PSR Disclosed:          October 2, 2008
22

23
                Sentencing Memorandums:       October 9, 2008

24              Judgment & Sentencing:        October 16, 2008
25

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     ///
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          Case 2:06-cr-00035-MCE Document 367 Filed 09/12/08 Page 2 of 2


     Dated: September 11, 2008                Respectfully submitted,
1

2
                                              _/s/ Shari Rusk______
3                                             Shari Rusk
                                              Attorney for Defendant
4
                                              Zachary Jenson
5

6    Dated: September 11, 2008                   /s/ Ellen Endrizzi
                                                Ellen Endrizzi
7
                                                Assistant United States
8                                               Attorney

9
                                 ORDER
10

11
          It is so ordered that Zachary Jenson be set for judgment
     and sentencing on October 16, 2008.
12

13
     DATED: September 12, 2008
14
                                   __________________________________
15                                 MORRISON C. ENGLAND, JR
                                   UNITED STATES DISTRICT JUDGE
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